                                                                                                                            Case 14-10258 Doc                       1 Filed 04/30/14 Entered                                                      04/30/14 15:33:42
                                                                                                          B1 (Official Form 1) (04/13) Desc                      Main Document            Page                                                     1 of 52
                                                                                                                                                      United States Bankruptcy Court                                                                            Voluntary Petition
                                                                                                                                                            District of Vermont
                                                                                                           Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                            Butzlaff, Ronald L.
                                                                                                           All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                           (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                            dba The Gargoyle House;

                                                                                                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                          (if more than one, state all): 4492                                               (if more than one, state all):

                                                                                                           Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                            3351 Wallace Hill Road
                                                                                                            Wells River, VT                                                     ZIPCODE                                                                                             ZIPCODE
                                                                                                                                                                                     05081
                                                                                                           County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                            Orange
                                                                                                           Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                               ZIPCODE                                                                                              ZIPCODE

                                                                                                           Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                    ZIPCODE

                                                                                                                         Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
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                                                                                                                     (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                         (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                               Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                                               See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                               Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                               Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                               Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                               check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                                    Chapter 13
                                                                                                                                                                                  Other N.A.                                                                   Nonmain Proceeding
                                                                                                                             Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                        (Check box, if applicable)                                    (Check one box)
                                                                                                           Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                            Debts are
                                                                                                                                                                                      Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                            primarily
                                                                                                           Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                                            business debts.
                                                                                                           regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                                    personal, family, or
                                                                                                                                                                                                                                    household purpose."
                                                                                                                                       Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                                   Check one box:
                                                                                                                  Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                          Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                  Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                                  signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                  to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                         on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                                     Check all applicable boxes
                                                                                                                  Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                         A plan is being filed with this petition.
                                                                                                                  attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                         Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                         classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                            Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                    COURT USE ONLY
                                                                                                              Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                              Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                              distribution to unsecured creditors.
                                                                                                          Estimated Number of Creditors

                                                                                                           1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                            5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                          Estimated Assets

                                                                                                          $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                           million       million          million          million            million
                                                                                                          Estimated Liabilities

                                                                                                          $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                            million      million          million          million            million
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                                                                                                                   Case 14-10258 Doc                     1 Filed 04/30/14 Entered        04/30/14 15:33:42
                                                                                                                              Desc                     Main Document           Page       4 of 52
                                                                                                          B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                              District of Vermont




                                                                                                                Ronald L. Butzlaff
                                                                                                          In re______________________________________                               Case No._____________
                                                                                                                          Debtor(s)                                                       (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
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                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
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                                            Certificate Number: 13791-VT-CC-023300309


                                                          13791-VT-CC-023300309




I CERTIFY that on April 29, 2014, at 6:31 o'clock PM EDT, Ronald L Butzlaff
received from DebtorWise Foundation, an agency approved pursuant to 11 U.S.C.
§ 111 to provide credit counseling in the District of Vermont, an individual [or
group] briefing that complied with the provisions of 11 U.S.C. §§ 109(h) and 111.


A debt repayment plan was not prepared. If a debt prepayment plan was prepared,
a copy of the debt prepayment plan is attached to this certificate.


This counseling session was conducted by internet.

 Date:   April 29, 2014                        By:      /s/Sarah Song

                                               Name: Sarah Song

                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States
Bankruptcy Code are required to file with the United States Bankruptcy Court a completed
certificate of counseling from the nonprofit budget and credit counseling agency that provided
the individual the counseling services and a copy of the debt repayment plan, if any,
developed through the credit counseling agency. See U.S.C. §§ 109(h) and 521(b).
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                                                                                                          B6 Cover (Form 6 Cover) (12/07)



                                                                                                          FORM 6. SCHEDULES

                                                                                                          Summary of Schedules
                                                                                                          Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                          Schedule A - Real Property
                                                                                                          Schedule B - Personal Property
                                                                                                          Schedule C - Property Claimed as Exempt
                                                                                                          Schedule D - Creditors Holding Secured Claims
                                                                                                          Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                          Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                          Schedule G - Executory Contracts and Unexpired Leases
                                                                                                          Schedule H - Codebtors
                                                                                                          Schedule I - Current Income of Individual Debtor(s)
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                                                                                                          Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                          Unsworn Declaration under Penalty of Perjury


                                                                                                          GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                          amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                          identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                          the case number should be left blank

                                                                                                          Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                          claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                          A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                          which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                          the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                          transactions, each claim should be scheduled separately.

                                                                                                          Review the specific instructions for each schedule before completing the schedule.
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                                                                                                                B6 Summary (Official Form 6 - Summary) (12/13)




                                                                                                                                                     United States Bankruptcy Court
                                                                                                                            Ronald L. Butzlaff
                                                                                                                                                                     District of Vermont

                                                                                                               In re                                                                                        Case No.
                                                                                                                                                                Debtor
                                                                                                                                                                                                            Chapter        13

                                                                                                                                                               SUMMARY OF SCHEDULES
                                                                                                          Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                          I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                          claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                          Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                     AMOUNTS SCHEDULED
                                                                                                                                                         ATTACHED
                                                                                                            NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER

                                                                                                            A – Real Property
                                                                                                                                                                                              $
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                                                                                                                                                         YES                     1                 265,000.00

                                                                                                            B – Personal Property
                                                                                                                                                         YES                     3            $     13,660.54

                                                                                                            C – Property Claimed
                                                                                                                as exempt                                YES                     1

                                                                                                            D – Creditors Holding
                                                                                                               Secured Claims                            YES                     2                                  $     330,592.27

                                                                                                            E - Creditors Holding Unsecured
                                                                                                                Priority Claims                                                                                     $
                                                                                                               (Total of Claims on Schedule E)
                                                                                                                                                         YES                     3                                          1,506.73

                                                                                                            F - Creditors Holding Unsecured                                                                         $
                                                                                                                Nonpriority Claims                       YES                     1                                              0.00

                                                                                                            G - Executory Contracts and
                                                                                                                Unexpired Leases                         YES                     1


                                                                                                            H - Codebtors                                YES                     1

                                                                                                            I - Current Income of
                                                                                                                Individual Debtor(s)                     YES                     2                                                        $     4,374.00

                                                                                                            J - Current Expenditures of Individual
                                                                                                                Debtors(s)                               YES                     3                                                        $     1,905.00


                                                                                                                                                 TOTAL                           18           $    278,660.54       $     332,099.00
                                                                                                            OfficialCase
                                                                                                                     Form 614-10258
                                                                                                                            - Statistical Summary
                                                                                                                                            Doc (12/13)1         Filed 04/30/14 Entered                         04/30/14 15:33:42
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                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                                        District of Vermont

                                                                                                                       In re       Ronald L. Butzlaff                                                      Case No.
                                                                                                                                                                 Debtor
                                                                                                                                                                                                           Chapter      13

                                                                                                          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                               If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                          §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                          information here.

                                                                                                          This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                          Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                             Type of Liability                                                             Amount
                                                                                                             Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                                    0.00
                                                                                                             Taxes and Certain Other Debts Owed to Governmental Units (from            $
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                                                                                                             Schedule E)
                                                                                                                                                                                               1,506.73
                                                                                                             Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                             Schedule E) (whether disputed or undisputed)                                           0.00
                                                                                                             Student Loan Obligations (from Schedule F)                                $
                                                                                                                                                                                                    0.00
                                                                                                             Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                             Obligations Not Reported on Schedule E                                                 0.00
                                                                                                             Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                                             (from Schedule F)                                                                      0.00

                                                                                                                                                                              TOTAL    $       1,506.73


                                                                                                            State the Following:
                                                                                                             Average Income (from Schedule I, Line 12)                                 $       4,374.00
                                                                                                             Average Expenses (from Schedule J, Line 22)                               $
                                                                                                                                                                                               1,905.00
                                                                                                             Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                             22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                               1,267.50



                                                                                                            State the Following:
                                                                                                             1. Total from Schedule D, “UNSECURED PORTION, IF                                              $
                                                                                                             ANY” column                                                                                        71,892.27

                                                                                                             2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                             PRIORITY” column.                                                                 1,506.73

                                                                                                             3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                             $
                                                                                                             PRIORITY, IF ANY” column                                                                                 0.00

                                                                                                             4. Total from Schedule F                                                                      $          0.00
                                                                                                             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                  $
                                                                                                                                                                                                                71,892.27
                                                                                                                         Case
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                                                                                                          In re    Ronald L. Butzlaff                                                                    Case No.
                                                                                                                                     Debtor                                                                                                    (If known)

                                                                                                                                                          SCHEDULE A - REAL PROPERTY
                                                                                                             Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                          tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                          the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                          “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                          “Description and Location of Property.”

                                                                                                            Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                          claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                             If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                          Property Claimed as Exempt.




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                                                           OF DEBTOR’S
                                                                                                                        DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN      AMOUNT OF
                                                                                                                               OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                         DEDUCTING ANY        CLAIM
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                                                                                                                                                                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                          OR EXEMPTION



                                                                                                           Residence and 18.50 acres                                     Fee Simple                                                           265,000.00      330,592.27
                                                                                                           3351 Wallace Hill Road
                                                                                                           Wells River, VT 05081
                                                                                                           Based on CMA obatained April 2014.




                                                                                                                                                                                                        Total
                                                                                                                                                                                                                                              265,000.00

                                                                                                                                                                                                        (Report also on Summary of Schedules.)
                                                                                                                         Case
                                                                                                          B6B (Official Form 6B)14-10258
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                                                                                                          In re     Ronald L. Butzlaff                                                                      Case No.
                                                                                                                                            Debtor                                                                             (If known)

                                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                          place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                          identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                          community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                          individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                              Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                                If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                          If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                                                            DEBTOR’S INTEREST
                                                                                                                                                                   N                                                                                           IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                             O                  DESCRIPTION AND LOCATION                                                   WITHOUT
                                                                                                                                                                   N                        OF PROPERTY                                                      DEDUCTING ANY
                                                                                                                                                                   E                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                                              OR EXEMPTION
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                                                                                                            1. Cash on hand.                                           Cash                                                                                           25.00
                                                                                                                                                                       Residence or on person

                                                                                                            2. Checking, savings or other financial accounts,          Checking Account - Ending in 3298                                                             419.77
                                                                                                            certificates of deposit, or shares in banks, savings
                                                                                                            and loan, thrift, building and loan, and homestead         Wells River Savings
                                                                                                            associations, or credit unions, brokerage houses,
                                                                                                            or cooperatives.
                                                                                                                                                                       Business Checking - Ending in 3840                                                          1,072.77
                                                                                                                                                                       Wells River Savings

                                                                                                            3. Security deposits with public utilities,            X
                                                                                                            telephone companies, landlords, and others.

                                                                                                            4. Household goods and furnishings, including              Furnishings, beds, kitchen supplies, appliances                                             3,000.00
                                                                                                            audio, video, and computer equipment.
                                                                                                                                                                       Residence

                                                                                                            5. Books. Pictures and other art objects,                  Misc. Books from school                                                                       100.00
                                                                                                            antiques, stamp, coin, record, tape, compact disc,
                                                                                                            and other collections or collectibles.                     Residence

                                                                                                            6. Wearing apparel.                                        Clothing                                                                                      500.00
                                                                                                                                                                       On person or at residence

                                                                                                            7. Furs and jewelry.                                   X
                                                                                                            8. Firearms and sports, photographic, and other        X
                                                                                                            hobby equipment.

                                                                                                            9. Interests in insurance policies. Name               X
                                                                                                            insurance company of each policy and itemize
                                                                                                            surrender or refund value of each.
                                                                                                                         Case
                                                                                                          B6B (Official Form 6B) 14-10258
                                                                                                                                 (12/07) -- Cont. Doc                     1 Filed 04/30/14 Entered                      04/30/14 15:33:42
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                                                                                                          In re     Ronald L. Butzlaff                                                                    Case No.
                                                                                                                                            Debtor                                                                                (If known)

                                                                                                                                                               SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                               (Continuation Sheet)




                                                                                                                                                                                                                                       HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                              CURRENT VALUE OF




                                                                                                                                                                                                                                         OR COMMUNITY
                                                                                                                                                                                                                                                              DEBTOR’S INTEREST
                                                                                                                                                                   N                                                                                             IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                             O                 DESCRIPTION AND LOCATION                                                      WITHOUT
                                                                                                                                                                   N                       OF PROPERTY                                                         DEDUCTING ANY
                                                                                                                                                                   E                                                                                           SECURED CLAIM
                                                                                                                                                                                                                                                                OR EXEMPTION


                                                                                                            10. Annuities. Itemize and name each issuer.           X
                                                                                                            11. Interests in an education IRA as defined in 26     X
                                                                                                            U.S.C. § 530(b)(1) or under a qualified State
                                                                                                            tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                            Give particulars. (File separately the record(s) of
                                                                                                            any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                            12. Interests in IRA, ERISA, Keogh, or other           X
                                                                                                            pension or profit sharing plans. Give particulars.

                                                                                                            13. Stock and interests in incorporated and                The Gargoyle House                                                                              100.00
                                                                                                            unincorporated businesses. Itemize.
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                                                                                                                                                                       Residence

                                                                                                            14. Interests in partnerships or joint ventures.       X
                                                                                                            Itemize.

                                                                                                            15. Government and corporate bonds and other           X
                                                                                                            negotiable and non-negotiable instruments.

                                                                                                            16. Accounts receivable.                                   Sean Kelly Ch 13 10-10114 receivable                                                          3,868.00
                                                                                                                                                                       Total remaining due over next 13 months is approximately
                                                                                                                                                                       $3868.00, assuming no conversion. Claim was for
                                                                                                                                                                       $40,000 - remaining due on claim is approximately
                                                                                                                                                                       $19,300.87.

                                                                                                            17. Alimony, maintenance, support, and property        X
                                                                                                            settlement to which the debtor is or may be
                                                                                                            entitled. Give particulars.

                                                                                                            18. Other liquidated debts owing debtor including      X
                                                                                                            tax refunds. Give particulars.

                                                                                                            19. Equitable or future interests, life estates, and   X
                                                                                                            rights or powers exercisable for the benefit of the
                                                                                                            debtor other than those listed in Schedule A - Real
                                                                                                            Property.

                                                                                                            20. Contingent and noncontingent interests in          X
                                                                                                            estate or a decedent, death benefit plan, life
                                                                                                            insurance policy, or trust.

                                                                                                            21. Other contingent and unliquidated claims of        X
                                                                                                            every nature, including tax refunds, counterclaims
                                                                                                            of the debtor, and rights of setoff claims. Give
                                                                                                            estimated value of each.

                                                                                                            22. Patents, copyrights, and other intellectual        X
                                                                                                            property. Give particulars.
                                                                                                                        Case
                                                                                                          B6B (Official Form 6B)14-10258
                                                                                                                                 (12/07) -- Cont.Doc                     1 Filed 04/30/14 Entered                          04/30/14 15:33:42
                                                                                                                                                           Desc       Main Document           Page                         13 of 52
                                                                                                          In re     Ronald L. Butzlaff                                                                    Case No.
                                                                                                                                            Debtor                                                                                 (If known)

                                                                                                                                                            SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                             (Continuation Sheet)




                                                                                                                                                                                                                                             HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                    CURRENT VALUE OF




                                                                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                                                                    DEBTOR’S INTEREST
                                                                                                                                                                  N                                                                                                    IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                            O                 DESCRIPTION AND LOCATION                                                             WITHOUT
                                                                                                                                                                  N                       OF PROPERTY                                                                DEDUCTING ANY
                                                                                                                                                                  E                                                                                                  SECURED CLAIM
                                                                                                                                                                                                                                                                      OR EXEMPTION


                                                                                                            23. Licenses, franchises, and other general           X
                                                                                                            intangibles. Give particulars.

                                                                                                            24. Customer lists or other compilations              X
                                                                                                            containing personally identifiable information (as
                                                                                                            defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                            debtor by individuals in connection with obtaining
                                                                                                            a product or service from the debtor primarily for
                                                                                                            personal, family, or household purposes.

                                                                                                            25. Automobiles, trucks, trailers, and other              2004 Ford F150 - 179,000 miles, good condition                                                       3,340.00
                                                                                                            vehicles and accessories.
                                                                                                                                                                      Wells River, VT
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                                                                                                                                                                      1978 Yamaha XS1100 motorcycle - 96,000 miles, fair                                                     535.00
                                                                                                                                                                      condition
                                                                                                                                                                      Residence



                                                                                                            26. Boats, motors, and accessories.                   X
                                                                                                            27. Aircraft and accessories.                         X
                                                                                                            28. Office equipment, furnishings, and supplies.          Office computers                                                                                       300.00
                                                                                                                                                                      Residence

                                                                                                            29. Machinery, fixtures, equipment, and supplies          Tractor Lawn mower (Craftsman with rebuilt motor)                                                      150.00
                                                                                                            used in business.
                                                                                                                                                                      Residence

                                                                                                            30. Inventory.                                        X
                                                                                                            31. Animals.                                              2 Dogs                                                                                                  50.00
                                                                                                                                                                      Residence

                                                                                                            32. Crops - growing or harvested. Give                X
                                                                                                            particulars.

                                                                                                            33. Farming equipment and implements.                 X
                                                                                                            34. Farm supplies, chemicals, and feed.               X
                                                                                                            35. Other personal property of any kind not               2 Massage tables                                                                                       200.00
                                                                                                            already listed. Itemize.
                                                                                                                                                                      Residence

                                                                                                                                                                                         0                                                                          $
                                                                                                                                                                                                 continuation sheets attached        Total                                13,660.54
                                                                                                                                                                                                 (Include amounts from any continuation
                                                                                                                                                                                                   sheets attached. Report total also on
                                                                                                                                                                                                         Summary of Schedules.)
                                                                                                                           Case 14-10258 Doc    1 Filed 04/30/14 Entered                                          04/30/14 15:33:42
                                                                                                            B6C (Official Form 6C) (04/13)
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                                                                                                          In re     Ronald L. Butzlaff                                                             Case No.
                                                                                                                                    Debtor                                                                               (If known)

                                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                            Debtor claims the exemptions to which debtor is entitled under:
                                                                                                            (Check one box)

                                                                                                                  11 U.S.C. § 522(b)(2)                                            Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                   $155,675*.
                                                                                                                  11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                     CURRENT
                                                                                                                                                                         SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                      DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                          EXEMPTION                        EXEMPTION                EXEMPTION


                                                                                                             Furnishings, beds, kitchen supplies,            11 U.S.C. 522(d)(3)                                  3,000.00                     3,000.00
                                                                                                             appliances

                                                                                                             Clothing                                        11 U.S.C. 522(d)(3)                                    500.00                      500.00

                                                                                                             2004 Ford F150 - 179,000 miles, good            11 U.S.C. 522(d)(2)                                  3,340.00                     3,340.00
                                                                                                             condition
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                                                                                                             Office computers                                11 U.S.C. 522(d)(5)                                    300.00                      300.00

                                                                                                             Tractor Lawn mower (Craftsman with              11 U.S.C. 522(d)(5)                                    150.00                      150.00
                                                                                                             rebuilt motor)

                                                                                                             2 Dogs                                          11 U.S.C. 522(d)(5)                                     50.00                       50.00

                                                                                                             1978 Yamaha XS1100 motorcycle - 96,000          11 U.S.C. 522(d)(5)                                    535.00                      535.00
                                                                                                             miles, fair condition

                                                                                                             Checking Account - Ending in 3298               11 U.S.C. 522(d)(5)                                    419.77                      419.77

                                                                                                             Cash                                            11 U.S.C. 522(d)(5)                                     25.00                       25.00

                                                                                                             Sean Kelly Ch 13 10-10114 receivable            11 U.S.C. 522(d)(5)                                  3,868.00                     3,868.00

                                                                                                             Misc. Books from school                         11 U.S.C. 522(d)(6)                                    100.00                      100.00

                                                                                                             The Gargoyle House                              11 U.S.C. 522(d)(5)                                    100.00                      100.00

                                                                                                             Business Checking - Ending in 3840              11 U.S.C. 522(d)(5)                                  1,072.77                     1,072.77

                                                                                                             2 Massage tables                                11 U.S.C. 522(d)(5)                                    200.00                      200.00

                                                                                                                                                             Total exemptions claimed:                           13,660.54




                                                                                                           *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                       Case 14-10258 Doc    1 Filed 04/30/14 Entered                                                                                                04/30/14 15:33:42
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                                                                                                          B6D (Official Form 6D) (12/07)

                                                                                                                   Ronald L. Butzlaff
                                                                                                          In re _______________________________________________,                                                                       Case No. _________________________________
                                                                                                                                        Debtor                                                                                                                                       (If known)

                                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                    State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                          by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                          such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                          address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                          §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                          include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                          husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                          "Husband, Wife, Joint, or Community."
                                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                          labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                          one of these three columns.)
                                                                                                                    Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                          labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                          Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                          the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                                                 AMOUNT
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                                                                               DATE CLAIM WAS INCURRED,                                                             OF
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                                                                                                      ORCOMMUNITY




                                                                                                                     CREDITOR’S NAME,
                                                                                                                      MAILING ADDRESS                                                             NATURE OF LIEN, AND                                                             CLAIM           UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                            DESCRIPTION AND                                                               WITHOUT           PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                             VALUE OF PROPERTY                                                             DEDUCTING           IF ANY
                                                                                                                     (See Instructions Above.)                                                      SUBJECT TO LIEN                                                              VALUE OF
                                                                                                                                                                                                                                                                               COLLATERAL


                                                                                                          ACCOUNT NO.                                                                      Foreclosure - US Bank v. Ronald
                                                                                                                                                                                           Butzlaff, 92-4-12 Oecv
                                                                                                          Arch Bay Holdings LLC
                                                                                                          c/o Matrix Servicing LLC                                                                                                                                             Notice Only    Notice Only
                                                                                                          1925 W. East Pinnacle Peak Road
                                                                                                          Phoenix, AZ 85027
                                                                                                                                                                                            VALUE $                             0.00
                                                                                                          ACCOUNT NO.                                                                      US Bank v. Ronald Butzlaff,
                                                                                                                                                                                           92-4-12 Oecv
                                                                                                          Josh Lobe, Esq.
                                                                                                          Atty to Rushmore Loan Management                                                                                                                                     Notice Only    Notice Only
                                                                                                          Svcs
                                                                                                          30 Kimball Ave. Ste 306
                                                                                                          South Burlington, VT 05403                                                                                            0.00
                                                                                                                                                                                            VALUE $
                                                                                                          ACCOUNT NO. 8647                                                                 Incurred: 2006
                                                                                                                                                                                           Lien: Second Mortgage                                                                               50,000.00
                                                                                                          OneWest Bank, FSB                                                                Security: 3351 Wallace Hill Rd., Wells                                                           This amount
                                                                                                          1270 Northland Drive, Ste. 200                 X                                 RIver, VT                                                                             50,000.00 based upon
                                                                                                                                                                                           Debtor only on mortgage not on note
                                                                                                          Mendota Heights, MN 55120                                                                                                                                                         existence of
                                                                                                                                                                                                                                                                                           Superior Liens
                                                                                                                                                                                            VALUE $                     265,000.00

                                                                                                             1
                                                                                                           _______continuation sheets attached                                                                                        Subtotal     $                             50,000.00   $     50,000.00
                                                                                                                                                                                                                              (Total of this page)
                                                                                                                                                                                                                                          Total    $                                         $
                                                                                                                                                                                                                           (Use only on last page)
                                                                                                                                                                                                                                                                     (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                     Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                           Summary of Certain
                                                                                                                                                                                                                                                                                           Liabilities and Related
                                                                                                                                                                                                                                                                                           Data.)
                                                                                                                        Case 14-10258 Doc    1 Filed 04/30/14 Entered                                                                                                       04/30/14 15:33:42
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                                                                                                          B6D (Official Form 6D) (12/07) – Cont.



                                                                                                                   Ronald L. Butzlaff
                                                                                                          In re __________________________________________________,                                                                      Case No. _________________________________
                                                                                                                                                     Debtor                                                                                                                                            (If known)



                                                                                                                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                                                        (Continuation Sheet)




                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                           AMOUNT




                                                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                CONTINGENT
                                                                                                                     CREDITOR’S NAME,                      CODEBTOR                               DATE CLAIM WAS INCURRED,                                                                    OF




                                                                                                                                                                                                                                                                            DISPUTED
                                                                                                                      MAILING ADDRESS                                                                NATURE OF LIEN, AND                                                                    CLAIM              UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                               DESCRIPTION AND                                                                      WITHOUT              PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                                VALUE OF PROPERTY                                                                    DEDUCTING              IF ANY
                                                                                                                     (See Instructions Above.)                                                         SUBJECT TO LIEN                                                                     VALUE OF
                                                                                                                                                                                                                                                                                         COLLATERAL

                                                                                                          ACCOUNT NO.                                                                        Incurred: 2006
                                                                                                                                                                                             Lien: First Mortgage                                                                                                 15,592.27
                                                                                                          Rushmore Loan Management Services                                                  Security: Debtor's real property located at 3351
                                                                                                                                                                                             Wallace Hill Road, Wells River, Vermont
                                                                                                          15480 Laguna Canyon Suite, 100                                                     In foreclosure - redemption date April 24, 2014.                                                280,592.27
                                                                                                          Irvine, CA 92618
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                                                                                                                                                                                             VALUE $                          265,000.00
                                                                                                          ACCOUNT NO.                                                                        92-4-12 Oecv - US Bank v. Ronald
                                                                                                                                                                                             L. Butzlaff
                                                                                                          Vermont Superior Court, Orange Unit
                                                                                                          Civil Court                                                                                                                                                                                0.00               0.00
                                                                                                          5 Court Street
                                                                                                          Chelsea, VT 05038
                                                                                                                                                                                             VALUE $                                    0.00
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                             VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                             VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                             VALUE $
                                                                                                                     1 of ___continuation
                                                                                                          Sheet no. ___    1              sheets attached to                                                                              Subtotal (s)    $                                  280,592.27 $         15,592.27
                                                                                                          Schedule of Creditors Holding Secured Claims                                                                            (Total(s) of this page)
                                                                                                                                                                                                                                                Total(s) $                                   330,592.27 $         65,592.27
                                                                                                                                                                                                                                 (Use only on last page)
                                                                                                                                                                                                                                                                                       (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                                       Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                                             Summary of Certain
                                                                                                                                                                                                                                                                                                             Liabilities and Related
                                                                                                                                                                                                                                                                                                             Data.)
                                                                                                                      Case 14-10258 Doc    1 Filed 04/30/14 Entered                                                   04/30/14 15:33:42
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                                                                                                          B6E (Official Form 6E) (04/13)


                                                                                                                    Ronald L. Butzlaff
                                                                                                             In re________________________________________________________________,                         Case No.______________________________
                                                                                                                                     Debtor                                                                               (if known)

                                                                                                                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                            unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                            address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                            property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                            the type of priority.

                                                                                                                   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                            the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                            "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                            entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                            both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                            Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                            in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                            more than one of these three columns.)

                                                                                                                  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                            Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
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                                                                                                            amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                            primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                            amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                            with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                            Data.



                                                                                                                Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                           TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                                 Domestic Support Obligations

                                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                          or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                          11 U.S.C. § 507(a)(1).


                                                                                                                 Extensions of credit in an involuntary case

                                                                                                                Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                 Wages, salaries, and commissions

                                                                                                                   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                           independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                           cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                 Contributions to employee benefit plans

                                                                                                                      Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                              cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                   *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                            B6E (Official Form 6E) (04/13) - Cont.

                                                                                                                        Ronald L. Butzlaff
                                                                                                                In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                        Debtor                                                                            (if known)




                                                                                                                 Certain farmers and fishermen
                                                                                                               Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                                 Deposits by individuals
                                                                                                               Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                           that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                 Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                               Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
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                                                                                                                 Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                              Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                           Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                           U.S.C. § 507 (a)(9).



                                                                                                                 Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                                 * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                                 adjustment.




                                                                                                                                                                     1
                                                                                                                                                                    ____ continuation sheets attached
                                                                                                                       Case 14-10258 Doc    1 Filed 04/30/14 Entered                                                                                                      04/30/14 15:33:42
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                                                                                                          B6E (Official Form 6E) (04/13) - Cont.


                                                                                                                    Ronald
                                                                                                                In re       L. Butzlaff
                                                                                                                      __________________________________________________,                                                                                          Case No. _________________________________
                                                                                                                                              Debtor                                                                                                                                   (If known)

                                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)                                          Sec. 507(a)(8)

                                                                                                                                                                                                                                                             Type of Priority for Claims Listed on This Sheet




                                                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                                                                                                                                                                                      AMOUNT

                                                                                                                                                            CODEBTOR
                                                                                                                      CREDITOR’S NAME,                                                         DATE CLAIM WAS




                                                                                                                                                                                                                                                  DISPUTED
                                                                                                                      MAILING ADDRESS                                                           INCURRED AND                                                       AMOUNT            AMOUNT             NOT
                                                                                                                    INCLUDING ZIP CODE,                                                        CONSIDERATION                                                         OF            ENTITLED TO       ENTITLED
                                                                                                                   AND ACCOUNT NUMBER                                                             FOR CLAIM                                                         CLAIM           PRIORITY            TO
                                                                                                                     (See instructions above..)                                                                                                                                                     PRIORITY, IF
                                                                                                                                                                                                                                                                                                        ANY

                                                                                                          ACCOUNT NO.
                                                                                                                                                                                              Incurred: 2013
                                                                                                          IRS
                                                                                                          PO Box 7346                                                                                                                                                1,506.73          1,506.73             0.00
                                                                                                          Philadelphia, PA 19114-7346
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                                                                                                          ACCOUNT NO.

                                                                                                          Vermont Department of Taxes
                                                                                                          Bankruptcy Unit, Third Floor                                                                                                                            Notice Only      Notice Only      Notice Only
                                                                                                          PO Box 429
                                                                                                          Montpelier, VT 05601-0429


                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                                     1 of ___continuation
                                                                                                                           1                                                                                       Subtotal                                   $      1,506.73      $   1,506.73     $       0.00
                                                                                                          Sheet no. ___                    sheets attached to Schedule of                                 (Totals of this page)
                                                                                                          Creditors Holding Priority Claims
                                                                                                                                                                                                                  Total                                       $      1,506.73
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E.) Report also on the Summary
                                                                                                                                                                        of Schedules)

                                                                                                                                                                                                                   Totals                                     $                    $   1,506.73      $      0.00
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E. If applicable, report also on
                                                                                                                                                                        the Statistical Summary of Certain
                                                                                                                                                                        Liabilities and Related Data.)
                                                                                                                         Case 14-10258 Doc    1 Filed 04/30/14 Entered                                                             04/30/14 15:33:42
                                                                                                                                    Desc   Main Document           Page                                                            20 of 52
                                                                                                          B6F (Official Form 6F) (12/07)

                                                                                                                   Ronald L. Butzlaff
                                                                                                           In re __________________________________________,                                                            Case No. _________________________________
                                                                                                                                          Debtor                                                                                                                      (If known)

                                                                                                                SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                           against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                           useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                           of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                           1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                           appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                           community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                           "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                                     Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                           Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                           Related Data.
                                                                                                                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                                               CODEBTOR




                                                                                                                                                                                                 DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                                                      CREDITOR’S NAME,                                                                                                                                               AMOUNT
                                                                                                                       MAILING ADDRESS                                                             CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                 IF CLAIM IS SUBJECT TO SETOFF,                                                        OF
                                                                                                                     INCLUDING ZIP CODE,
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                                                                                                                                                                                                            SO STATE.                                                                 CLAIM
                                                                                                                    AND ACCOUNT NUMBER
                                                                                                                      (See instructions above.)

                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                              _______continuation sheets attached                         0                                                             Subtotal                                 $            0.00
                                                                                                                                                                                                                              Total                                              $            0.00
                                                                                                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.)
                                                                                                                         Case 14-10258 Doc    1 Filed 04/30/14 Entered                                                 04/30/14 15:33:42
                                                                                                          B6G (Official Form 6G) (12/07)
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                                                                                                                  Ronald L. Butzlaff                                                         Case No.
                                                                                                          In re
                                                                                                                                    Debtor                                                                               (if known)

                                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                            State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                            names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                            contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                            guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                  Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                             DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                                     OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                                                                       Case 14-10258 Doc                      1 Filed 04/30/14 Entered                               04/30/14 15:33:42
                                                                                                          B6H (Official Form 6H) (12/07)
                                                                                                                                   Desc                    Main Document           Page                              22 of 52



                                                                                                          In re   Ronald L. Butzlaff                                                        Case No.
                                                                                                                                   Debtor                                                                              (if known)


                                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                                                              Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                          debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                          property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                          Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                          name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                          commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                          commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                          parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                          Fed. Bankr. P. 1007(m).
                                                                                                              Check this box if debtor has no codebtors.



                                                                                                                        NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR


                                                                                                             Sean Kelly                                                                   Rushmore Loan Management Services
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                                                                                                             2810 Crosstown Rd. Apt 2                                                     15480 Laguna Canyon Suite, 100
                                                                                                             Montpelier, VT 05602                                                         Irvine, CA 92618

                                                                                                             Sean Kelly                                                                   OneWest Bank, FSB
                                                                                                             2810 Crosstown Rd. Apt 2                                                     1270 Northland Drive, Ste. 200
                                                                                                             Montpelier, VT 05602                                                         Mendota Heights, MN 55120
                                                                                                                              Case 14-10258 Doc    1 Filed 04/30/14 Entered                                                       04/30/14 15:33:42
                                                                                                                                         Desc   Main Document           Page                                                      23 of 52
                                                                                                           Fill in this information to identify your case:


                                                                                                           Debtor 1           Ronald L. Butzlaff
                                                                                                                              __________________________________________________________ _________
                                                                                                                               First Name             Middle Name             Last Name

                                                                                                           Debtor 2            __________________________________________________________________
                                                                                                           (Spouse, if filing) First Name             Middle Name             Last Name

                                                                                                                                                                                           VT
                                                                                                           United States Bankruptcy Court for the: ___________________________ District of ________

                                                                                                           Case number         ___________________________________________                                         Check if this is:
                                                                                                            (If known)
                                                                                                                                                                                                                         An amended filing
                                                                                                                                                                                                                         A supplement showing post-petition
                                                                                                                                                                                                                         chapter 13 income as of the following date:
                                                                                                                                                                                                                         ________________
                                                                                                          Official Form                     6I                                                                           MM / DD / YYYY


                                                                                                          Schedule I: Your Income                                                                                                                                 12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                          supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                                                          If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                                                          separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                                           Part 1:           Describe Employment


                                                                                                          1. Fill in your employment
                                                                                                              information.                                                          Debtor 1                                          Debtor 2 or non-filing spouse
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                                                                                                              If you have more than one job,
                                                                                                              attach a separate page with                                       X
                                                                                                              information about additional         Employment status                   Employed                                           Employed
                                                                                                              employers.                                                               Not employed                                       Not employed
                                                                                                              Include part-time, seasonal, or
                                                                                                              self-employed work.                                             Bed and Breakfast - owner
                                                                                                                                                   Occupation                  __________________ ________________                __________________________________
                                                                                                              Occupation may Include student
                                                                                                              or homemaker, if it applies.
                                                                                                                                                                              3351 Wallace Hill Road
                                                                                                                                                   Employer’s name             __________________ ________________                __________________ ________________


                                                                                                                                                   Employer’s address         Wells River, VT 05081
                                                                                                                                                                              _______________________________________             _______________________________________
                                                                                                                                                                                Number     Street                                  Number   Street

                                                                                                                                                                              _______________________________________             _______________________________________

                                                                                                                                                                              _______________________________________             _______________________________________

                                                                                                                                                                              Wells River, VT 05081
                                                                                                                                                                              _______________________________________             _______________________________________
                                                                                                                                                                                City                  State   ZIP Code             City                State ZIP Code

                                                                                                                                                   How long employed there?           5 yrs, 6 mos
                                                                                                                                                                                     _______                                       _______

                                                                                                           Part 2:           Give Details About Monthly Income

                                                                                                              Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                                                              spouse unless you are separated.
                                                                                                              If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                                                              below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                                                              For Debtor 1         For Debtor 2 or
                                                                                                                                                                                                                                   non-filing spouse
                                                                                                           2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                               deductions). If not paid monthly, calculate what the monthly wage would be.            2.             0.00                     N.A.
                                                                                                                                                                                                              $___________             $____________

                                                                                                           3. Estimate and list monthly overtime pay.                                                 3.            0.00
                                                                                                                                                                                                           + $___________         +           N.A.
                                                                                                                                                                                                                                       $____________


                                                                                                           4. Calculate gross income. Add line 2 + line 3.                                            4.             0.00
                                                                                                                                                                                                              $__________                     N.A.
                                                                                                                                                                                                                                       $____________



                                                                                                          Official Form       6I                                           Schedule I: Your Income                                                            page 1
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                  Ronald L. Butzlaff
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                               non-filing spouse
                                                                                                                                  0.00
                                                                                                                           $___________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
   Copy line 4 here ............................................................................................   4.

5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                                                              5a.            0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
    5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
    5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
    5e. Insurance                                                                                                  5e.            0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5f. Domestic support obligations                                                                               5f.
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5g. Union dues                                                                                                 5g.
    5h. Other deductions. Specify: __________________________________                                              5h.            0.00
                                                                                                                         + $____________       +          N.A.
                                                                                                                                                   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________

                                                                                                                                  0.00                   N.A.
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________            $_____________


 8. List all other income regularly received:

    8a. Net income from rental property and from operating a business,
        profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                 3,966.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.            0.00                   N.A.
                                                                                                                                                   $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                  0.00                   N.A.
                                                                                                                          $____________            $_____________
           settlement, and property settlement.                                                                    8c.
    8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8e. Social Security                                                                                           8e.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                  0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
                                        Sean Kelly Chapter 13 payments 8h.
     8h. Other monthly income. Specify: _______________________________                                                         408.00
                                                                                                                         + $____________                N.A.
                                                                                                                                               + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.        4,374.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                             4,374.00
                                                                                                                          $___________     +             N.A. = $_____________
                                                                                                                                                   $_____________    4,374.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                                  0.00
                                                                                                                                                                 11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                            4,374.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                 12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X     No.
           Yes. Explain:


Official Form       6I                                                               Schedule I: Your Income                                                               page 2
                                                                                                                               Case 14-10258 Doc    1 Filed 04/30/14 Entered                                                    04/30/14 15:33:42
                                                                                                                                          Desc   Main Document           Page                                                   25 of 52
                                                                                                            Fill in this information to identify your case:

                                                                                                            Debtor 1           Ronald L. Butzlaff
                                                                                                                              __________________________________________________________________
                                                                                                                               First Name               Middle Name             Last Name                       Check if this is:
                                                                                                            Debtor 2           ________________________________________________________________
                                                                                                            (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                                                                                                                                      An amended filing
                                                                                                                                                                                                                    X A supplement showing post-petition chapter 13
                                                                                                                                                                                            VT
                                                                                                            United States Bankruptcy Court for the: ___________________________ District of ________                  expenses as of the following date:
                                                                                                                                                                                                                       04/23/2014
                                                                                                                                                                                                                      ________________
                                                                                                            Case number        ___________________________________________                                            MM / DD / YYYY
                                                                                                            (If known)
                                                                                                                                                                                                                      A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                                                      maintains a separate household
                                                                                                          Official Form                      6J
                                                                                                          Schedule J: Your Expenses                                                                                                                             12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                                                          information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                                                          (if known). Answer every question.

                                                                                                           Part 1:            Describe Your Household

                                                                                                          1. Is this a joint case?
                                                                                                             X    No. Go to line 2.
                                                                                                                  Yes. Does Debtor 2 live in a separate household?

                                                                                                                               No
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                                                                                                                               Yes. Debtor 2 must file a separate Schedule J.

                                                                                                          2. Do you have dependents?                      No
                                                                                                                                                      X                                      Dependent’s relationship to               Dependent’s   Does dependent live
                                                                                                             Do not list Debtor 1 and                     Yes. Fill out this information for Debtor 1 or Debtor 2                      age           with you?
                                                                                                             Debtor 2.                                    each dependent ..........................
                                                                                                                                                                                                                                                          No
                                                                                                             Do not state the dependents’                                                    __________________ _______                ________
                                                                                                             names.                                                                                                                                       Yes

                                                                                                                                                                                             __________________ _______                ________           No
                                                                                                                                                                                                                                                          Yes

                                                                                                                                                                                             __________________ _______                ________           No
                                                                                                                                                                                                                                                          Yes

                                                                                                                                                                                             __________________ _______                ________           No
                                                                                                                                                                                                                                                          Yes

                                                                                                                                                                                             __________________ _______                ________           No
                                                                                                                                                                                                                                                          Yes

                                                                                                          3. Do your expenses include                 X   No
                                                                                                             expenses of people other than
                                                                                                             yourself and your dependents?                Yes

                                                                                                          Part 2:         Estimate Your Ongoing Monthly Expenses

                                                                                                          Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                                                          expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                                                          applicable date.
                                                                                                          Include expenses paid for with non-cash government assistance if you know the value
                                                                                                          of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                          Your expenses

                                                                                                           4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                               0.00
                                                                                                               any rent for the ground or lot.                                                                                   4.
                                                                                                                                                                                                                                         $_____________________

                                                                                                               If not included in line 4:
                                                                                                               4a.    Real estate taxes                                                                                          4a.
                                                                                                                                                                                                                                                          0.00
                                                                                                                                                                                                                                         $_____________________
                                                                                                               4b.    Property, homeowner’s, or renter’s insurance                                                               4b.                      0.00
                                                                                                                                                                                                                                         $_____________________
                                                                                                               4c.    Home maintenance, repair, and upkeep expenses                                                              4c.                   255.00
                                                                                                                                                                                                                                         $_____________________
                                                                                                               4d.    Homeowner’s association or condominium dues                                                                4d.                      0.00
                                                                                                                                                                                                                                         $_____________________

                                                                                                          Official Form        6J                                       Schedule J: Your Expenses                                                           page 1
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 Debtor 1         Ronald L. Butzlaff
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                     0.00
                                                                                                                     $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:
                                                                                                                                      250.00
      6a.   Electricity, heat, natural gas                                                                    6a.    $_________________ ____
                                                                                                                                         0.00
      6b.   Water, sewer, garbage collection                                                                  6b.    $_________________ ____
                                                                                                                                        76.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_________________ ____
                                  propane                                                                                                0.00
      6d.   Other. Specify: _______________________________________________                                   6d.    $_________________ ____
                                                                                                                                      500.00
 7. Food and housekeeping supplies                                                                            7.     $_________________ ____
                                                                                                                                         0.00
 8. Childcare and children’s education costs                                                                  8.     $_________________ ____
                                                                                                                                        50.00
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_________________ ____
                                                                                                                                        25.00
10.   Personal care products and services                                                                     10.    $_________________ ____
                                                                                                                                         0.00
11.   Medical and dental expenses                                                                             11.    $_________________ ____

12. Transportation. Include gas, maintenance, bus or train fare.                                                                      350.00
                                                                                                                     $_________________ ____
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                  100.00
                                                                                                                     $_________________ ____
14.   Charitable contributions and religious donations                                                        14.                    0.00
                                                                                                                     $_________________ ____
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      15b. Health insurance                                                                                   15b.                   0.00
                                                                                                                     $_________________ ____
      15c. Vehicle insurance                                                                                  15c.                  27.00
                                                                                                                     $_________________ ____
      15d. Other insurance. Specify:_______________________________________                                   15d.                   0.00
                                                                                                                     $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                   152.00
                                                                                                                     $_________________ ____
      Specify: ______________________________________ __________________                                      16.

17.   Installment or lease payments:
                                                                                                                                         0.00
      17a. Car payments for Vehicle 1                                                                         17a.   $_________________ ____
                                                                                                                                         0.00
      17b. Car payments for Vehicle 2                                                                         17b.   $_________________ ____
                                                                                                                                         0.00
      17c. Other. Specify:_________________________________ ______________                                    17c.   $_________________ ____
                                                                                                                                         0.00
      17d. Other. Specify:_________________________________ ______________                                    17d.   $_________________ ____

18.   Your payments of alimony, maintenance, and support that you did not report as deducted                                             0.00
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                     18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                 ,                                                                                             19.                   0.00
                                                                                                                     $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                         0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.
                                                                                                                                     0.00
                                                                                                                     $_____________________



 Official Form       6J                                        Schedule J: Your Expenses                                                   page 2
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 Debtor 1         Ronald L. Butzlaff
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name       Middle Name     Last Name




                              Business - supplies, bank charges                                                                          120.00
21.    Other. Specify: ________________________________ _________________                                        21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               1,905.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                       4,374.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 1,905.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                  2,469.00
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
      X   Yes.     Explain here:
                    Debtor has not been making mtg payments anticipates beginning if modification possible.




 Official Form     6J                                         Schedule J: Your Expenses                                                       page 3
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                                                                                                                                                                                 COURT
                                                                                                                                                        District of Vermont

                                                                                                           In Re Ronald L. Butzlaff                                                                              Case No.
                                                                                                                                                                                                                                  (if known)


                                                                                                                                                             STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                  the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                  information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                  filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                  provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                                  indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                                  or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                                  R. Bankr. P. 1007(m).

                                                                                                                            Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                  must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                                                                  space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
                                                                                                                  (if known), and the number of the question.

                                                                                                                  DEFINITIONS

                                                                                                                             "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                  individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
                                                                                                                  the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
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                                                                                                                  the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                                  employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                  in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                             "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                  their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
                                                                                                                  control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
                                                                                                                  the debtor. 11 U.S.C. § 101(2), (31).



                                                                                                                            1. Income from employment or operation of business

                                                                                                                            State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                            the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                 None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                            spouses are separated and a joint petition is not filed.)

                                                                                                                                    AMOUNT                                                 SOURCE

                                                                                                                     2014           5,757.00       Gross business income from The Gargoyle                       FY: Jan 1 to April 30
                                                                                                                                                   House
                                                                                                                     2013         29,800.00        Gross business income from The Gargoyle                       FY: Jan 1 to Dec 31
                                                                                                                                                   House
                                                                                                                     2012         18,055.00        Gross business income from The Gargoyle                       FY: Jan 1 to Dec 31
                                                                                                                                                   House
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                                                                                                                     2.   Income other than from employment or operation of business

                                                                                                          None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                     of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                     particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)

                                                                                                                      AMOUNT                                                                SOURCE

                                                                                                              2014               1,634.75            Payments from Sean Kelly Ch 13

                                                                                                              2013               5,475.36            Payments from Sean Kelly Ch 13



                                                                                                                     3. Payments to creditors
                                                                                                          None

                                                                                                                     Complete a. or b., as appropriate, and c.
                                                                                                                     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                     goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                     this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                     Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
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                                                                                                                     or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                     counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                                         PAYMENTS                                PAID                  OWING




                                                                                                          None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                     within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                     constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk
                                                                                                                     (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                     alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                          *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                           AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
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                                                                                                          None

                                                                                                                  c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                                  for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                                  include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                  and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF CREDITOR                              DATES OF                        AMOUNT PAID             AMOUNT STILL
                                                                                                            AND RELATIONSHIP TO DEBTOR                               PAYMENTS                                                   OWING


                                                                                                                  4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                          None    a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                  preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                  information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                  and a joint petition is not filed.)


                                                                                                           CAPTION OF SUIT                NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                                          AND CASE NUMBER                                                            AGENCY AND LOCATION                          DISPOSITION

                                                                                                          US Bank v. Ronald            Foreclosure                                     Vermont Superior Court,                Pending -
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                                                                                                          Butzlaff, 92-4-12 Oecv                                                       Orange Unit                            redemption date
                                                                                                                                                                                       Civil Division                         April 23, 2014


                                                                                                          None    b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                  one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                  13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                  unless the spouses are separated and a joint petition is not filed.)


                                                                                                             NAME AND ADDRESS OF                                        DATE OF                                        DESCRIPTION AND
                                                                                                           PERSON FOR WHOSE BENEFIT                                     SEIZURE                                       VALUE OF PROPERTY
                                                                                                             PROPERTY WAS SEIZED


                                                                                                                  5.   Repossessions, foreclosures and returns

                                                                                                          None          List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                  lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                  (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                  both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND                                 DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                             ADDRESS OF                                 FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                          CREDITOR OR SELLER                           TRANSFER OR RETURN
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                                                                                                                  6. Assignments and Receiverships

                                                                                                          None    a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                  the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                  assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                  joint petition is not filed.)


                                                                                                                  NAME AND                                    DATE OF ASSIGNMENT                                  TERMS OF
                                                                                                                 ADDRESS OF                                                                                      ASSIGNMENT
                                                                                                                   ASSIGNEE                                                                                     OR SETTLEMENT


                                                                                                          None    b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                  year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                  must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                  the spouses are separated and a joint petition is not filed.)


                                                                                                                  NAME AND                          NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                                 ADDRESS OF                         OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                                 CUSTODIAN                               & NUMBER
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                                                                                                                  7.   Gifts

                                                                                                          None         List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                  case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                  member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                  12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                  unless the spouses are separated and a joint petition is not filed.)


                                                                                                                 NAME AND                            RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                                ADDRESS OF                         TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                          PERSON OR ORGANIZATION


                                                                                                                  8.   Losses

                                                                                                          None             List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                  commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                  chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                  separated and a joint petition is not filed.)


                                                                                                             DESCRIPTION                            DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                              AND VALUE                                WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                             OF PROPERTY                                   INSURANCE, GIVE PARTICULARS
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                                                                                                                    9.   Payments related to debt counseling or bankruptcy

                                                                                                          None           List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                    for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                    bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                     NAME AND ADDRESS                         DATE OF PAYMENT,                              AMOUNT OF MONEY OR
                                                                                                                         OF PAYEE                             NAME OF PAYOR IF                                DESCRIPTION AND
                                                                                                                                                             OTHER THAN DEBTOR                               VALUE OF PROPERTY

                                                                                                          Obuchowski & Emens-Butler, PC                3/27/2014, 4/9/2014, 4/15/2014,                 $3,300; $2,979 in attorney's fees,
                                                                                                          PO Box 60                                    4/16/2014, 4/17/2014                            $281 in filing fees, $40 in credit
                                                                                                          Bethel, VT 05032                             Payor: 4, 4/17/2014                             counseling and debtor education fees


                                                                                                                    10. Other transfers

                                                                                                          None      a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                                    of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                    of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                    whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                                             NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                                 RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                                   VALUE RECEIVED

                                                                                                            Bank Of America                                              July 2010 & 2011                23895 Sargent Ave.
                                                                                                            Po Box 982238                                                                                Southfield, MI
                                                                                                            El Paso, TX 79998                                                                            Foreclosed by status unknown by
                                                                                                            Relationship: None                                                                           Deed recission.

                                                                                                            Sean Kelly                                                   2009                            Signed off interest in MI property
                                                                                                            2810 Crosstown Rd. Apt 2
                                                                                                            Montpelier, VT 05602
                                                                                                            Relationship: Former partner


                                                                                                                    b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                    to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                          None

                                                                                                                 NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                     AMOUNT OF MONEY OR
                                                                                                                                                                             TRANSFER(S)                       DESCRIPTION AND
                                                                                                                                                                                                            VALUE OF PROPERTY OR
                                                                                                                                                                                                         DEBTOR'S INTEREST IN PROPERTY
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                                                                                                                   11. Closed financial accounts

                                                                                                          None           List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                                   were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                                   Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                   accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                   institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                   instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                   and a joint petition is not filed.)


                                                                                                                   NAME AND                           TYPE OF ACCOUNT, LAST FOUR                                        AMOUNT AND
                                                                                                                  ADDRESS OF                          DIGITS OF ACCOUNT NUMBER,                                         DATE OF SALE
                                                                                                                  INSTITUTION                        AND AMOUNT OF FINAL BALANCE                                         OR CLOSING


                                                                                                                   12. Safe deposit boxes

                                                                                                          None              List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                   valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                   chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                   is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                                                      NAME AND                      NAMES AND ADDRESSES OF                   DESCRIPTION OF               DATE OF
                                                                                                                   ADDRESS OF BANK                 THOSE WITH ACCESS TO BOX                    CONTENTS                 TRANSFER OR
                                                                                                                 OR OTHER DEPOSITORY                    OR DEPOSITORY                                                 SURRENDER, IF ANY


                                                                                                                   13. Setoffs

                                                                                                          None            List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                   preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                   information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                   and a joint petition is not filed.)


                                                                                                                 NAME AND ADDRESS OF CREDITOR                                  DATE                                  AMOUNT
                                                                                                                                                                                OF                                      OF
                                                                                                                                                                              SETOFF                                  SETOFF

                                                                                                                   14. Property held for another person

                                                                                                          None          List all property owned by another person that the debtor holds or controls.


                                                                                                                     NAME AND                              DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                                  ADDRESS OF OWNER                        VALUE OF PROPERTY
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                                                                                                                  15. Prior address of debtor
                                                                                                          None
                                                                                                                         If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                                  premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                  joint petition is filed, report also any separate address of either spouse.


                                                                                                                 ADDRESS                                          NAME USED                                   DATES OF OCCUPANCY



                                                                                                                  16. Spouses and Former Spouses
                                                                                                          None
                                                                                                                      If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                  Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                  eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                  any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                               NAME


                                                                                                                  17. Environmental Sites
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                                                                                                                  For the purpose of this question, the following definitions apply:

                                                                                                                  "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                  releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                  other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                  wastes, or material.

                                                                                                                            "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                            presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                            "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                            hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                          None
                                                                                                                  a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                  unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                  governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                  SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                                  b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                  of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                          None

                                                                                                                  SITE NAME                        NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                     OF GOVERNMENTAL UNIT                       NOTICE                       LAW
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                                                                                                                    c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                    with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                          None      was a party to the proceeding, and the docket number.


                                                                                                                    NAME AND ADDRESS                                DOCKET NUMBER                               STATUS OR DISPOSITION
                                                                                                                  OF GOVERNMENTAL UNIT


                                                                                                                    18. Nature, location and name of business

                                                                                                          None      a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                    businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                    managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                    other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                    which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                                    preceding the commencement of this case.

                                                                                                                    If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                    beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                    voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                    If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                    beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
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                                                                                                                    voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                            NAME            LAST FOUR DIGITS OF                   ADDRESS                   NATURE OF BUSINESS BEGINNING AND
                                                                                                                            SOCIAL-SECURITY OR                                                                 ENDING DATES
                                                                                                                             OTHER INDIVIDUAL
                                                                                                                              TAXPAYER-I.D. NO.
                                                                                                                            (ITIN)/ COMPLETE EIN
                                                                                                          The Gargoyle House          XX-XXX4474                3351 Wallace Hill Road           Ben and Breakfast            March 1, 2006 to
                                                                                                                                                                Wells River, VT 05081                                         present


                                                                                                                    b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                    U.S.C. § 101.
                                                                                                          None

                                                                                                                    NAME                                                                                ADDRESS




                                                                                                                  The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
                                                                                                          debtor who is or has been, within the six years immediately preceding the commencement of this case, any of the following: an
                                                                                                          officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
                                                                                                          partner, other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

                                                                                                                   (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
                                                                                                          business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has
                                                                                                          not been in business within those six years should go directly to the signature page.)
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                                                                                                                    19. Books, record and financial statements

                                                                                                          None      a.     List all bookkeepers and accountants who within the two years immediately preceding the filing of this
                                                                                                                    bankruptcy case kept or supervised the keeping of books of account and records of the debtor.


                                                                                                           NAME AND ADDRESS                                                              DATES SERVICES RENDERED



                                                                                                          None      b.    List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case
                                                                                                                    have audited the books of account and records, or prepared a financial statement of the debtor.


                                                                                                                    NAME                                              ADDRESS                            DATES SERVICES RENDERED



                                                                                                          None      c.    List all firms or individuals who at the time of the commencement of this case were in possession of the books
                                                                                                                    of account and records of the debtor. If any of the books of account and records are not available, explain.


                                                                                                                    NAME                                                 ADDRESS
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                                                                                                          None      d.     List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
                                                                                                                    financial statement was issued within the two years immediately preceding the commencement of this case by the debtor.


                                                                                                                 NAME AND ADDRESS                                                     DATE
                                                                                                                                                                                     ISSUED


                                                                                                                    20. Inventories

                                                                                                          None      a.     List the dates of the last two inventories taken of your property, the name of the person who supervised the
                                                                                                                    taking of each inventory, and the dollar amount and basis of each inventory.


                                                                                                             DATE OF INVENTORY                       INVENTORY SUPERVISOR                      DOLLAR AMOUNT OF INVENTORY
                                                                                                                                                                                                (Specify cost, market or other basis)


                                                                                                          None      b.      List the name and address of the person having possession of the records of each of the two inventories
                                                                                                                    reported in a., above.


                                                                                                                   DATE OF INVENTORY                                              NAME AND ADDRESSES OF CUSTODIAN OF
                                                                                                                                                                                         INVENTORY RECORDS
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                                                                                                                    21. Current Partners, Officers, Directors and Shareholders

                                                                                                          None      a.   If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                                                                   NAME AND ADDRESS                        NATURE OF INTEREST                              PERCENTAGE OF INTEREST



                                                                                                          None      b.    If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly
                                                                                                                    or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.


                                                                                                                   NAME AND ADDRESS                                   TITLE                             NATURE AND PERCENTAGE OF
                                                                                                                                                                                                            STOCK OWNERSHIP


                                                                                                                    22. Former partners, officers, directors and shareholders

                                                                                                          None      a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
                                                                                                                    preceding the commencement of this case.


                                                                                                                         NAME                                         ADDRESS                               DATE OF WITHDRAWAL
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                                                                                                          None      b.    If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated
                                                                                                                    within one year immediately preceding the commencement of this case.


                                                                                                                 NAME AND ADDRESS                                            TITLE                          DATE OF TERMINATION



                                                                                                                    23. Withdrawals from a partnership or distribution by a corporation

                                                                                                          None          If the debtor is a partnership or a corporation, list all withdrawals or distributions credited or given to an insider,
                                                                                                                    including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
                                                                                                                    during one year immediately preceding the commencement of this case.


                                                                                                                   NAME & ADDRESS OF                             DATE AND PURPOSE                             AMOUNT OF MONEY OR
                                                                                                                 RECIPIENT, RELATIONSHIP                          OF WITHDRAWAL                              DESCRIPTION AND VALUE
                                                                                                                        TO DEBTOR                                                                                OF PROPERTY
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                                                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                                                _____


                                                                                                                              Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                  DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                          compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                          rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                          have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                          in that section.




                                                                                                          Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
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                                                                                                          If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                          partner who signs this document.




                                                                                                          Address

                                                                                                          X
                                                                                                          Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                          not an individual:

                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                          or imprisonment or both. 18 U.S.C. §156.
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                                                                                                                                                                     According to the calculations required by this statement:
                                                                                                                  Ronald L. Butzlaff                                    The applicable commitment period is 3 years.
                                                                                                          In re
                                                                                                                                Debtor(s)                                The applicable commitment period is 5 years.
                                                                                                                                                                         Disposable income is determined under § 1325(b)(3).
                                                                                                          Case Number:                                                   Disposable income not determined under § 1325(b)(3).
                                                                                                                               (If known)
                                                                                                                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)


                                                                                                                                 CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                           AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                                                          In addition to Schedule I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing
                                                                                                          jointly. Joint debtors may complete one statement only.

                                                                                                                                                           Part I. REPORT OF INCOME

                                                                                                                   Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                                                                    a.    Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                                                                    b.   Married. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income") for Lines 2-10.
                                                                                                             1
                                                                                                                   All figures must reflect average monthly income received from all sources, derived during the               Column A      Column B
                                                                                                                   six calendar months prior to filing the bankruptcy case, ending on the last day of the month                Debtor’s      Spouse’s
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                                                                                                                   before the filing. If the amount of monthly income varied during the six months, you must                    Income        Income
                                                                                                                   divide the six-month total by six, and enter the result on the appropriate line.
                                                                                                             2     Gross wages, salary, tips, bonuses, overtime, commissions.                                              $       0.00 $        N.A.
                                                                                                                   Income from the operation of a business, profession or farm. Subtract Line b from Line a
                                                                                                                   and enter the difference in the appropriate column(s) of Line 3. If you operate more than one
                                                                                                                   business, profession or farm, enter aggregate numbers and provide details on an attachment.
                                                                                                                   Do not enter a number less than zero. Do not include any part of the business expenses
                                                                                                             3     entered on Line b as a deduction in Part IV.
                                                                                                                     a.      Gross receipts                                       $                     2,120.50
                                                                                                                     b.      Ordinary and necessary business expenses             $                        853.00
                                                                                                                     c.      Business income                                      Subtract Line b from Line a              $    1,267.50 $       N.A.
                                                                                                                   Rents and other real property income. Subtract Line b from Line a and enter the difference in
                                                                                                                   the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
                                                                                                                   part of the operating expenses entered on Line b as a deduction in Part IV.

                                                                                                             4        a.     Gross receipts                                        $                         0.00
                                                                                                                      b.     Ordinary and necessary operating expenses             $                         0.00
                                                                                                                      c.     Rent and other real property income                   Subtract Line b from Line a             $       0.00 $        N.A.
                                                                                                             5     Interest, dividends and royalties.                                                                      $       0.00 $        N.A.
                                                                                                             6     Pension and retirement income.                                                                          $       0.00 $        N.A.
                                                                                                                   Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                                   expenses of the debtor or the debtor's dependents, including child support paid for that
                                                                                                             7     purpose. Do not include alimony or separate maintenance payments or amounts paid by the
                                                                                                                   debtor’s spouse. Each regular payment should be reported in only one column; if a payment is
                                                                                                                   listed in Column A, do not report that payment in Column B.                                             $       0.00 $        N.A.
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                                                                                                                 Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                                                                 However, if you contend that unemployment compensation received by you or your spouse was a
                                                                                                                 benefit under the Social Security Act, do not list the amount of such compensation in Column A
                                                                                                           8     or B, but instead state the amount in the space below:
                                                                                                                 Unemployment compensation claimed to be a
                                                                                                                 benefit under thecompensation.
                                                                                                                 Unemployment      Social Security Enter
                                                                                                                                                   Act the amount  Debtor         0.00 column(s)
                                                                                                                                                                      in the$appropriate               N.A.
                                                                                                                                                                                         Spouse $ of Line 8.    $            0.00 $        N.A.
                                                                                                                 Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                                 sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
                                                                                                                 maintenance payments paid by your spouse, but include all other payments of alimony or
                                                                                                                 separate maintenance. Do not include any benefits received under the Social Security Act or
                                                                                                          9      payments received as a victim of a war crime, crime against humanity, or as a victim of
                                                                                                                 international or domestic terrorism.
                                                                                                                   a.                                                                            $      0.00
                                                                                                                   b.                                                                       $       0.00            $        0.00 $        N.A.
                                                                                                                 Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                                                          10     through 9 in Column B. Enter the total(s).                                                         $ 1,267.50 $           N.A.
                                                                                                                 Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
                                                                                                          11     enter the total. If Column B has not been completed, enter the amount from Line 10, Column         $                   1,267.50
                                                                                                                 A.
                                                                                                                                 Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
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                                                                                                          12     Enter the Amount from Line 11.                                                                                     $   1,267.50
                                                                                                                 Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
                                                                                                                 calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
                                                                                                                 spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a
                                                                                                                 regular basis for the household expenses of you or your dependents and specify, in the lines below, the basis
                                                                                                                 for excluding this income (such as payment of the spouse's tax liability or the spouse's support of persons
                                                                                                                 other than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
                                                                                                                 necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do not
                                                                                                          13     apply, enter zero.
                                                                                                                   a.                                                                          $          0.00
                                                                                                                    b.                                                                       $          0.00
                                                                                                                    c.                                                                       $          0.00
                                                                                                                  Total and enter on Line 13.                                                                                       $       0.00

                                                                                                          14     Subtract Line 13 from Line 12 and enter the result.                                                                $   1,267.50
                                                                                                          15     Annualized current monthly income for §1325(b)(4). Multiply the amount from Line 14 by the number
                                                                                                                 12 and enter the result.                                                                                           $ 15,210.00
                                                                                                                 Applicable median family income. Enter the median family income for the applicable state and household
                                                                                                                 size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                          16     court.)
                                                                                                                                                          Vermont
                                                                                                                 a. Enter debtor’s state of residence: _______________                                         1
                                                                                                                                                                       b. Enter debtor’s household size: __________                 $ 44,413.00
                                                                                                                   Application of §1325(b)(4). Check the applicable box and proceed as directed.
                                                                                                                     The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
                                                                                                                     3 years” at the top of page 1 of this statement and continue with this statement.
                                                                                                          17
                                                                                                                        The amount on Line 15 is more than the amount on Line 16. Check the box for “The applicable commitment period
                                                                                                                        is 5 years” at the top of page 1 of this statement and continue with this statement.

                                                                                                                  Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                                                          18     Enter the Amount from Line11.                                                                                      $   1,267.50
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                                                                                                                 Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
                                                                                                                 of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses
                                                                                                                 of the debtor or the debtor’s dependents. Specify, in the lines below, the basis for excluding the Column B
                                                                                                                 income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor
                                                                                                                 or the debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional
                                                                                                                 adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
                                                                                                           19      a.                                                                         $         0.00
                                                                                                                   b.                                                                         $         0.00
                                                                                                                   c.                                                                         $         0.00
                                                                                                                Total and enter on Line 19.                                                                                        $          0.00

                                                                                                          20      Current monthly income for §1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                      $    1,267.50

                                                                                                          21      Annualized current monthly income for §1325(b)(3). Multiply the amount from Line 20 by the
                                                                                                                  number 12 and enter the result.                                                                                      15,210.00
                                                                                                                                                                                                                                   $
                                                                                                          22      Applicable median family income. Enter the amount from Line 16.                                                  $ 44,413.00
                                                                                                                  Application of §1325(b)(3). Check the applicable box and proceed as directed.
                                                                                                                        The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
                                                                                                                        under §1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                                                          23
                                                                                                                        The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
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                                                                                                                        determined under §1325(b)(3)” at the top of page 1 of this statement and continue with Part VII of this statement. Do not
                                                                                                                        complete Parts IV, V or VI.
                                                                                                                                     Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                                                                                                            Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                                                  National Standards: food, apparel and services, housekeeping supplies, personal care, and
                                                                                                                  miscellaneous. Enter in line 24A the “Total” amount from IRS National Standards for Allowable Living
                                                                                                          24A     Expenses for the applicable number of persons. (This information is available at www.usdoj.gov/ust/ or from
                                                                                                                  the clerk of the bankruptcy court.) The applicable number of persons is the number that would currently be
                                                                                                                  allowed as exemptions on your federal income tax return, plus the number of any additional dependents
                                                                                                                  whom you support.                                                                                                $   N.A.
                                                                                                               National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
                                                                                                              of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
                                                                                                              of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                                                              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                                                              persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                                                              years of age or older. (The applicable number of persons in each age category is the number in that category
                                                                                                              that would currently be allowed as exemptions on your federal income tax return, plus the number of any
                                                                                                              additional dependents whom you support.) Multiply line a1 by Line b1 to obtain a total amount for persons
                                                                                                          24B under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65
                                                                                                              and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter
                                                                                                              the result in Line 24B.
                                                                                                                  Persons under 65 years of age                          Persons 65 years of age or older
                                                                                                                   a1. Allowance per person                       N.A.   a2. Allowance per person                  N.A.
                                                                                                                   b1 Number of persons                           N.A.   b2. Number of persons                      N.A.
                                                                                                                   .                                              N.A.                                             N.A.
                                                                                                                   c1. Subtotal                                          c2. Subtotal                                              $   N.A.
                                                                                                              Local Standards: housing and utilities; non-mortgage expenses. Enter amount of the IRS Housing and
                                                                                                              Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
                                                                                                          25A available at www.usdoj.gov/ust/
                                                                                                                                              or from the clerk of the bankruptcy court.) The applicable family size
                                                                                                              consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                                              the number of any additional dependents whom you support.                                                            $   N.A.
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                                                                                                              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
                                                                                                              IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information
                                                                                                              is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size
                                                                                                              consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                                              the number of any additional dependents whom you support); enter on Line b the total of the Average
                                                                                                              Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and
                                                                                                          25B enter the result in Line 25B. Do not enter an amount less than zero.

                                                                                                                   a.        IRS Housing and Utilities Standards; mortgage/rental expense   $                     N.A.
                                                                                                                             Average Monthly Payment for any debts secured by your home,
                                                                                                                   b.                                                                    $                        N.A.
                                                                                                                             if any, as stated in Line 47
                                                                                                                   c.        Net mortgage/rental expense                                    Subtract Line b from Line a.          $   N.A.
                                                                                                                Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
                                                                                                                and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                                                                Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
                                                                                                           26   your contention in the space below:


                                                                                                                                                                                                                                  $   N.A.

                                                                                                               Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
                                                                                                               expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
                                                                                                               regardless of whether you use public transportation.
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                                                                                                               Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
                                                                                                               are included as a contribution to your household expenses in Line 7.                0     1       2 or more.
                                                                                                          27A If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
                                                                                                               Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
                                                                                                               Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                                               Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
                                                                                                                                                                                                                            $         N.A.
                                                                                                               the bankruptcy court.)
                                                                                                               Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                                                               expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                                                           27B additional deduction for your public transportation expenses, enter on Line 27B the “Public Transportation”
                                                                                                               amount from the IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or
                                                                                                               from the clerk of the bankruptcy court.)                                                                     $         N.A.
                                                                                                                Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                                                                which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
                                                                                                                two vehicles.)      1       2 or more.
                                                                                                                Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                                (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                                Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
                                                                                                                Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                                                           28
                                                                                                                        a.      IRS Transportation Standards, Ownership Costs                   $                 N.A.
                                                                                                                                Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                                        b.      as stated in Line 47                                            $                 N.A.
                                                                                                                        c.      Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.      $   N.A.
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                                                                                                                 Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                                                                 checked the “2 or more” Box in Line 28.
                                                                                                                 Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                                 (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                          29     Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
                                                                                                                 Line a and enter the result in Line 29. Do not enter an amount less than zero.
                                                                                                                     a.      IRS Transportation Standards, Ownership Costs                       $                   N.A.
                                                                                                                             Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                                     b.      as stated in Line 47                                                $                  N.A.
                                                                                                                     c.      Net ownership/lease expense for Vehicle 2                           Subtract Line b from Line a.
                                                                                                                                                                                                                                     $   N.A.

                                                                                                                 Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all for
                                                                                                          30     all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
                                                                                                                 taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.
                                                                                                                                                                                                                                     $   N.A.
                                                                                                                 Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                                                          31     deductions that are required for your employment, such as mandatory retirement contributions, union dues,
                                                                                                                 and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.           $            N.A.
                                                                                                                 Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
                                                                                                                 term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life
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                                                                                                          32
                                                                                                                 or for any other form of insurance.                                                                        $            N.A.
                                                                                                                 Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
                                                                                                                 to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do
                                                                                                          33     not include payments on past due support obligations included in Line 49.                                       $       N.A.
                                                                                                                 Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
                                                                                                                 Enter the total monthly amount that you actually expend for education that is a condition of employment and
                                                                                                          34     for education that is required for a physically or mentally challenged dependent child for whom no public
                                                                                                                 education providing similar services is available.                                                                  $   N.A.
                                                                                                                 Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                                                                                                          35     childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
                                                                                                                                                                                                                                     $   N.A.
                                                                                                                 payments.
                                                                                                                 Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
                                                                                                                 on health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed
                                                                                                          36     by insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do
                                                                                                                 not include payments for health insurance or health savings accounts listed in Line 39.                           $     N.A.
                                                                                                                 Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
                                                                                                                 actually pay for telecommunications services other than your basic home telephone and cell phone service –
                                                                                                          37     such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
                                                                                                                 your health and welfare or that of your dependents. Do not include any amount previously deducted.                  $   N.A.

                                                                                                          38     Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                 $
                                                                                                                                                                                                                                         N.A.
                                                                                                                                                   Subpart B: Additional Living Expense Deductions
                                                                                                                                          Note: Do not include any expenses that you have listed in Lines 24-37
                                                                                                                       Case 14-10258 Doc    1 Filed 04/30/14 Entered
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                                                                                                                 Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
                                                                                                                 expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or
                                                                                                                 your dependents.
                                                                                                                    a.     Health Insurance                                                  $    N.A.
                                                                                                                    b.     Disability Insurance                                              $    N.A.
                                                                                                           39
                                                                                                                    c.     Health Savings Account                                            $    N.A.
                                                                                                              Total and enter on Line 39                                                                                             $ N.A.
                                                                                                              If you do not actually expend this total amount, state your actual total average monthly expenditures in the
                                                                                                              space below:
                                                                                                                  $          N.A.
                                                                                                              Continued contributions to the care of household or family members. Enter the total average actual
                                                                                                              monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                                           40 elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                                              unable to pay for such expenses. Do not include payments listed in Line 34.                                            $ N.A.
                                                                                                                 Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
                                                                                                           41    actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or
                                                                                                                 other applicable federal law. The nature of these expenses is required to be kept confidential by the court.        $ N.A.
                                                                                                              Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
                                                                                                              Standards for Housing and Utilities that you actually expend for home energy costs. You must provide your
                                                                                                           42
                                                                                                              case trustee with documentation of your actual expenses, and you must demonstrate that the additional
                                                                                                              amount claimed is reasonable and necessary.                                                                  $ N.A.
                                                                                                               Education expenses for dependent children under18. Enter the total average monthly expenses that you
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                                                                                                               actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary
                                                                                                            43 school by your dependent children less than 18 years of age. You must provide your case trustee with
                                                                                                               documentation of your actual expenses, and you must explain why the amount claimed is reasonable
                                                                                                               and necessary and not already accounted for in the IRS Standards.                                                     $ N.A.
                                                                                                              Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                                                              clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                                                           44 National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                                                              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
                                                                                                              amount claimed is reasonable and necessary.                                                                            $ N.A.
                                                                                                              Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                                                           45 charitable contributions in the form of cash or financial instruments to a charitable organization as defined in
                                                                                                              26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.
                                                                                                                                                                                                                                     $ N.A.
                                                                                                           46 Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                            $ N.A.
                                                                                                                                                           Subpart C: Deductions for Debt Payment
                                                                                                                 Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                                                                 you own, list the name of creditor, identify the property securing the debt, and state the Average Monthly
                                                                                                                 Payment, and check whether the payment includes taxes and insurance. The Average Monthly Payment is the
                                                                                                                 total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
                                                                                                                 filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the
                                                                                                                 total of the Average Monthly Payments on Line 47.


                                                                                                           47           Name of Creditor                Property Securing the Debt              Average        Does payment
                                                                                                                                                                                                Monthly        include taxes or
                                                                                                                                                                                                Payment        insurance?
                                                                                                                  a.                                                                        $                       yes no
                                                                                                                  b.                                                                        $                       yes no
                                                                                                                  c.                                                                        $                        yes    no
                                                                                                                                                                                            Total: Add Lines
                                                                                                                                                                                            a, b and c                               $ N.A.
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                                                                                                                 Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence,
                                                                                                                 a motor vehicle, or other property necessary for your support or the support of your dependents, you may
                                                                                                                 include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor in addition
                                                                                                                 to the payments listed in Line 47, in order to maintain possession of the property. The cure amount would
                                                                                                                 include any sums in default that must be paid in order to avoid repossession or foreclosure. List and total any
                                                                                                          48     such amounts in the following chart. If necessary, list additional entries on a separate page.
                                                                                                                           Name of Creditor                       Property Securing the Debt     1/60th of the Cure Amount
                                                                                                                  a.                                                                             $
                                                                                                                  b.
                                                                                                                                                                                                 $
                                                                                                                  c.                                                                             $

                                                                                                          48                                                                                      Total: Add Lines a, b and c       $   N.A.
                                                                                                                 Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
                                                                                                                 priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
                                                                                                          49
                                                                                                                 Do not include current obligations, such as those set out in Line 33.                                            $     N.A.
                                                                                                                 Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
                                                                                                                 resulting administrative expense.
                                                                                                                  a.     Projected average monthly Chapter 13 plan payment.                      $                  N.A.
                                                                                                                         Current multiplier for your district as determined under
                                                                                                          50             schedules issued by the Executive Office for United States
                                                                                                                  b.     Trustees. (This information is available at www.usdoj.gov/ust/
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                                                                                                                         or from the clerk of the bankruptcy court.)                                                N.A.
                                                                                                                                                                                                 x
                                                                                                                  c.     Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b          N.A.
                                                                                                                                                                                                                                    $
                                                                                                          51     Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                             N.A.
                                                                                                                                                                                                                                    $
                                                                                                                                                         Subpart D: Total Deductions from Income
                                                                                                          52     Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                      $   N.A.

                                                                                                                          Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
                                                                                                          53     Total current monthly income. Enter the amount from Line 20.                                                       $   N.A.
                                                                                                                 Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                                                          54     disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
                                                                                                                 nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                                   N.A.
                                                                                                                                                                                                                                    $
                                                                                                                 Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
                                                                                                          55     wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
                                                                                                                 repayments of loans from retirement plans, as specified in § 362(b)(19).                                   $           N.A.

                                                                                                          56     Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                  $   N.A.
                                                                                                                 Deduction for special circumstances. If there are special circumstances that justify additional expenses for
                                                                                                                 which there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines
                                                                                                                 a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the total in
                                                                                                                 Line 57. You must provide your case trustee with documentation of theses expenses and you must
                                                                                                                 provide a detailed explanation of the special circumstances that make such expenses necessary and
                                                                                                                 reasonable.
                                                                                                                                    Nature of special circumstances                                   Amount of expense
                                                                                                          57
                                                                                                                  a.                                                                              $
                                                                                                                  b.                                                                              $
                                                                                                                  c.                                                                              $
                                                                                                                                                                                                 Total: Add Lines a, b and c        $   N.A.
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                                                                                                                                                  Form 22 Continuation Sheet
                                                                                                          Income Month 1                                            Income Month 2


                                                                                                          Gross wages, salary, tips...              0.00     0.00   Gross wages, salary, tips...                  0.00   0.00
                                                                                                          Income from business...                 990.00     0.00   Income from business...                    820.00    0.00
                                                                                                          Rents and real property income...         0.00     0.00   Rents and real property income...             0.00   0.00
                                                                                                          Interest, dividends...                    0.00     0.00   Interest, dividends...                        0.00   0.00
                                                                                                          Pension, retirement...                    0.00     0.00   Pension, retirement...                        0.00   0.00
                                                                                                          Contributions to HH Exp...                0.00     0.00   Contributions to HH Exp...                    0.00   0.00
                                                                                                          Unemployment...                           0.00     0.00   Unemployment...                               0.00   0.00
                                                                                                          Other Income...                           0.00     0.00   Other Income...                               0.00   0.00



                                                                                                          Income Month 3                                            Income Month 4


                                                                                                          Gross wages, salary, tips...              0.00     0.00   Gross wages, salary, tips...                  0.00   0.00
                                                                                                          Income from business...               1,733.00     0.00   Income from business...                   1,044.00   0.00
                                                                                                          Rents and real property income...         0.00     0.00   Rents and real property income...             0.00   0.00
                                                                                                          Interest, dividends...                    0.00     0.00   Interest, dividends...                        0.00   0.00
                                                                                                          Pension, retirement...                    0.00     0.00   Pension, retirement...                        0.00   0.00
                                                                                                          Contributions to HH Exp...                0.00     0.00   Contributions to HH Exp...                    0.00   0.00
                                                                                                          Unemployment...                           0.00     0.00   Unemployment...                               0.00   0.00
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                                                                                                          Other Income...                           0.00     0.00   Other Income...                               0.00   0.00


                                                                                                          Income Month 5                                            Income Month 6


                                                                                                          Gross wages, salary, tips...              0.00     0.00   Gross wages, salary, tips...                  0.00   0.00
                                                                                                          Income from business...               1,815.00     0.00   Income from business...                   1,203.00   0.00
                                                                                                          Rents and real property income...         0.00     0.00   Rents and real property income...             0.00   0.00
                                                                                                          Interest, dividends...                    0.00     0.00   Interest, dividends...                        0.00   0.00
                                                                                                          Pension, retirement...                    0.00     0.00   Pension, retirement...                        0.00   0.00
                                                                                                          Contributions to HH Exp...                0.00     0.00   Contributions to HH Exp...                    0.00   0.00
                                                                                                          Unemployment...                           0.00     0.00   Unemployment...                               0.00   0.00
                                                                                                          Other Income...                           0.00     0.00   Other Income...                               0.00   0.00



                                                                                                                                              Additional Items as Designated, if any




                                                                                                                                                            Remarks
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